           Case 3:05-cr-00465-JSW           Document 144        Filed 03/20/06      Page 1 of 2



1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVBN 0722)
3    Chief, Criminal Division
4    MONICA FERNANDEZ (CSBN 168216)
     Assistant United States Attorney
5
        450 Golden Gate Avenue, Box 36055
6       San Francisco, California 94102
        Telephone: (415) 436-7065
7       Facsimile: (415) 436-7234
        E-mail: Monica.L.Fernandez@usdoj.gov
8
9    Attorneys for the United States of America
10
                                 UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
                                      SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                    )       No. CR 05-00465 JSW
                                                  )
15          Plaintiff,                            )       STIPULATION TO CONTINUE CHANGE
                                                  )       OF PLEA HEARING; [PROPOSED]
16                  v.                            )       ORDER
                                                  )
17                                                )       Date: March 23, 2006
                                                  )       Time: 2:30 p.m.
18   RALPH FRANK PETERS                           )
          aka Peter,                              )
19        aka Patrick,                            )
                                                  )
20                                                )
            Defendant.                            )
21                                                )
                                                  )
22                                                )
                                                  )
23
24          The parties to the above matter hereby stipulate, subject to the approval of the Court, as
25   follows:
26          1.      This matter is currently scheduled for change of plea on March 23, 2006 at 2:30
27                  p.m.
28
     No. CR 05-00465 JSW
     STIP. TO CONT. CHANGE OF PLEA
     HEARING; [PROPOSED] ORDER
           Case 3:05-cr-00465-JSW          Document 144       Filed 03/20/06      Page 2 of 2



1           2.     Defense counsel, Juliana Drous, Esq., will be out of town on March 23, 2006, and
2                  has non-refundable tickets.
3           3.     Therefore, the parties hereby stipulate to continue the change of plea by one week,
4                  to March 30, 2006 at 2:30 p.m.
5
6    IT IS SO STIPULATED
7
8                                                       KEVIN V. RYAN
                                                        United States Attorney
9
10
11   Dated: March 17, 2006                              /s/ Monica Fernandez
                                                        MONICA FERNANDEZ
12                                                      Assistant United States Attorney
13
14
15   Dated: March 17, 2006                               /s/ Juliana Drous
                                                        JULIANA DROUS, ESQ.
16                                                      Attorney for Defendant Peters
17
18                                               ORDER
19          For good cause shown, the change of plea hearing for defendant Ralph Frank Peters is
20   continued for one week, until March 30, 2006, at 2:30 p.m.
21          PURSUANT TO STIPULATION, IT IS SO ORDERED.
22
23   Dated: March ____,
                  20 2006                               __________________________________
                                                        HON. JEFFREY S. WHITE
24                                                      UNITED STATES DISTRICT JUDGE
25
26
27
28
     No. CR 05-00465 JSW
     STIP. TO CONT. CHANGE OF PLEA
     HEARING; [PROPOSED] ORDER                      2
